       Case 2:22-cv-00543-SM-DPC Document 87 Filed 12/15/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



VIVIAN S. CAHILL and THE ESTATE OF
SANDRA F. GARDNER (through its personal
representative, MICHAEL H. GARDNER), individually
                                                             Case No.: 2:22-cv-00543-SM-DPC

      Plaintiffs.

v.

GREGORY G. FAIA, VERNON H. DECOSSAS III,
FAIA & ASSOCIATES, LLC, ADS SQUARED LLC,
VISUAL AD GROUP, INC., DSE LEASING, LLC., AND
BOXED JELLIES LLC

      Defendants.

__________________________________/


                    UNOPPOSED EX PARTE MOTION TO SUPPLEMENT

       NOW INTO COURT, through undersigned counsel, come Plaintiffs, Vivian S. Cahill and

the Estate of Sandra F. Gardner, through its personal representative, Michael H. Gardner,

(hereinafter referred to as “Plaintiffs”), who respectfully move that this Court allow Plaintiffs to

supplement their Memorandum in Opposition to Second Motion to Dismiss Pursuant to Federal

Rule of Civil Procedure 12(b)(1) and 12(b)(6) [R. Doc. 86] to add as an exhibit the attached

transcript of the hearing held by the Florida Bankruptcy Court on December 1, 2023 in the matter

entitled, “Gregory G. Faia, et al. v. Sigmund Solares, et al.,” bearing docket number 8:19-bk-

08638-CPM, adversary number 8:21-ap-00333, which was received from the court today.

       Counsel for the Defendants (Michael Magner) has been contacted and has indicated that

there is no objection to this motion.
       Case 2:22-cv-00543-SM-DPC Document 87 Filed 12/15/23 Page 2 of 2




       WHEREFORE, Plaintiffs now pray that this Court allow them to supplement their

Memorandum in Opposition to Second Motion to Dismiss Pursuant to Federal Rule of Civil

Procedure 12(b)(1) and 12(b)(6) [R. Doc. 86] to add as an exhibit the attached transcript of the

hearing held by the Florida Bankruptcy Court on December 1, 2023 in the matter entitled,

“Gregory G. Faia, et al. v. Sigmund Solares, et al.,” bearing docket number 8:19-bk-08638-CPM,

adversary number 8:21-ap-00333.

Dated: New Orleans, Louisiana                AARON & GIANNA, PLC.
       December 15, 2023                     201 St. Charles Avenue
                                             Suite 3800
                                             New Orleans, LA 70170
                                             (504) 569-1800 (telephone)
                                             (504) 569-1801 (fax)

                                             By: _________/s/ W. Glenn Burns___________
                                                   W. Glenn Burns, Esq.
                                                   Louisiana Bar No. 03698
                                                   gburns@aarongianna.com
                                                   William D. Aaron, Jr., Esq.
                                                   Louisiana Bar No. 02267
                                                   waaron@aarongianna.com
                                                   DeWayne L. Williams, Esq.
                                                   Louisiana Bar No. 27685
                                                   dwilliams@aarongianna.com

                                             Counsel for Vivian Solares Cahill and Estate of
                                             Sandra F. Gardner

                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing has been filed electronically; that
the Electronic Case Filing system will e-mail a Notice of Electronic Filing to all counsel in the
case who have received their Electronic Case Filing login and password; and that a hard copy has
been forwarded along with a copy of the Notice of Electronic Filing to attorneys and parties who
are not set up for electronic notification.

       New Orleans, Louisiana, this 15th day of December, 2023.

                               ______/s/ W. Glenn Burns______________
                                     W. GLENN BURNS



                                                2
